Filed 8/27/24 T-A Fashion (USA) v. Megna T-Shirt Manufacturing Co. CA2/3
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                      DIVISION THREE

 T-A FASHION (USA), LLC,                                                    B329189

           Plaintiff and Respondent,                                        (Los Angeles County
                                                                            Super. Ct. No. 22STCV34300)
           v.

 MEGNA T-SHIRT MANUFACTURING
 COMPANY, INC.,

           Defendant and Appellant.



     APPEAL from an order of the Superior Court of
Los Angeles County, Barbara A. Meiers, Judge. Affirmed.
     Law Offices of Ben Gharagozli and Behnam Gharagozli for
Defendant and Appellant.
     Michael A. Abramson for Plaintiff and Respondent.

                             ‗‗‗‗‗‗‗‗‗‗‗‗‗‗‗‗‗‗‗‗‗‗‗‗‗‗‗‗
      Megna T-Shirt Manufacturing Company, Inc. (Megna)
appeals from a trial court order denying its motion to vacate a
voluntary dismissal filed by T-A Fashion (USA), LLC (T-A
Fashion) and its motion for attorney fees. We affirm the order.
       FACTUAL AND PROCEDURAL BACKGROUND
      In January 2020, Megna began leasing a commercial
property (the property) from T-A Fashion.
      In October 2022, T-A Fashion filed an unlawful detainer
action against Megna; its president, Mahmud Ulkarim (together,
defendants); and several Doe defendants. The complaint alleged
defendants owed over $107,000 in past-due rent. It further
alleged T-A Fashion’s representative had personally served
Ulkarim with a three-day notice to pay rent or quit the property.
      In December 2022, T-A Fashion filed an amended
complaint alleging defendants owed over $119,000 in past-due
rent. The amended complaint attached a proof of service
asserting T-A Fashion’s representative personally served
Ulkarim with a second three-day notice in late November 2022.
      In February 2023, defendants moved for summary
judgment. Defendants argued (1) the second three-day notice
was served at an address inconsistent with notice requirements
in the lease, (2) the second three-day notice failed to account for
holidays and weekends, and (3) the original complaint was
prematurely filed before any effective three-day notice had
expired. The motion was set for hearing on March 8, 2023.
      On February 16, 2023, the court held a final status
conference. The proceeding was not reported. Pursuant to
California Rules of Court, rule 3.1351(b) and (c), T-A Fashion was
permitted to oppose the motion orally at the March 8 hearing, or
in writing on or before the day of the hearing. At the final status




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conference, the parties stipulated that T-A Fashion intended to
file a summary judgment motion and that it would also be heard
on March 8, 2023; the deadline for T-A Fashion to respond to
Megna’s discovery requests would be February 21, 2023; and the
trial would be continued to the first available date after March 8,
2023.
       On February 28, 2023, T-A Fashion filed a request for
dismissal of its action without prejudice pursuant to Code of Civil
Procedure section 581, subdivision (b)(1).1 The dismissal was
entered the same day.
       In March 2023, defendants filed a motion to vacate T-A
Fashion’s voluntary dismissal and asked the court to enter a
dismissal with prejudice. Defendants acknowledged a plaintiff
may voluntarily dismiss its complaint under section 581,
subdivision (b)(1), before trial begins. Nonetheless, defendants
argued voluntary dismissal is not permitted when an entry of
judgment in favor of the defendant is a mere formality.
Defendants relied on Franklin Capital Corp. v. Wilson (2007) 148
Cal.App.4th 187 (Franklin Capital), which held that when a case
is voluntarily dismissed “(a) in the light of a public and formal
indication by the trial court of the legal merits of the case, or [¶]
—(b) in the light of some procedural dereliction by the dismissing
plaintiff that made dismissal otherwise inevitable, then the
voluntary dismissal is ineffective.” (Id. at p. 200.)
       Defendants argued the trial court had addressed the merits
of T-A Fashion’s claims during the unreported final status
conference. Defendants’ counsel submitted a declaration
attesting that the court had indicated its “tentative ruling was to

1     All undesignated statutory references are to the Code of
Civil Procedure.




                                  3
grant the motion for summary judgment,” and purported to
recount the court’s explanations. According to the declaration,
“[t]he Court concluded that probably as a matter of law,
Defendant’s motion for summary judgment would be entitled to
succeed.” Defendants also argued dismissal was inevitable
because there were three “uncorrectable defects” in T-A Fashion’s
case. Defendants sought attorney fees pursuant to a prevailing
party provision in the lease.
       T-A Fashion opposed defendants’ motion to vacate. It
argued that a judge’s statements in an unreported status
conference are not sufficiently formal or public to make a
subsequent voluntary dismissal ineffective. T-A Fashion also
contended “procedural dereliction” requires some sort of failure
through inaction, which Franklin Capital described as including
a failure to timely amend the complaint after a demurrer was
sustained, or a failure to timely respond to a summary judgment
motion. T-A Fashion argued the procedural errors identified in
defendants’ summary judgment motion differed from those
described in Franklin Capital. T-A Fashion further opposed
defendants’ motion for fees, arguing, among other things, that
there is no prevailing party under Civil Code section 1717,
subdivision (b)(1), when a case is voluntarily dismissed.
       At the March 30 hearing, the trial court indicated
defendants had “stretched the facts” and rejected defendants’
argument that dismissal was inevitable after the final status
conference. The court disagreed with defendants’ counsel’s
recitation and interpretation of what transpired during the final
status conference, stating that it “never said [T-A Fashion was]
absolutely going to lose . . . .” The court further explained its
recollection of the proceeding: “Nobody came up with what the




                                4
Court had noted. And both of you were told to go back to the
drawing board and discuss this tentative ground for a possible
dismissal that nobody had talked about. I couldn’t have entered
a dismissal of anything with prejudice on some new ground that
nobody had ever thought about. So it was totally in the air. [¶]
And the problem that I detected that nobody else had noticed was
that the lease called for all notices to go to the premises, and
nobody had done that. . . . So you were all bickering about issues
that I thought might tentatively be important, but nobody had
briefed these things. So you were told, go back and look at all of
these issues and then we’ll see where we are.”2
       The court denied defendants’ motions to vacate and for
attorney fees. Megna timely appealed.3
                            DISCUSSION
I.     The Trial Court Did Not Err in Denying Defendants’
       Motion to Vacate T-A Fashion’s Voluntary Dismissal
       A.    Appealability
       T-A Fashion previously filed a motion to dismiss the appeal
on the ground that the order denying the motion to vacate is not
appealable. Although an order entered after a voluntary
dismissal is not appealable as an order entered after a judgment
under section 904.1, subdivision (a)(2), we concluded the order is
appealable as a final judgment pursuant to section 904.1,
subdivision (a)(1), because it “constituted the final determination
of the issues in this case.” (Mesa Shopping Center-East, LLC v. O


2     As Megna notes on appeal, it appears that the issue the
court referred to was, in fact, raised in defendants’ summary
judgment motion.

3     Ulkarim has not appeared on appeal.




                                 5
Hill (2014) 232 Cal.App.4th 890, 899 (Mesa).) We therefore
denied T-A Fashion’s motion to dismiss the appeal.
       In its appellate briefing, T-A Fashion repeats verbatim the
arguments it made in the motion to dismiss. T-A Fashion
additionally contends Mesa is distinguishable because it involved
a voluntary dismissal that was entered only after the issuance of
a prior ruling denying a preliminary injunction and an
arbitration award in the defendants’ favor. We disagree. The
Mesa court’s reasoning was based on the conclusion that there
was “nothing interlocutory about the court’s rulings” denying the
motion to vacate the voluntary dismissal and request for attorney
fees, and the appeal challenged an “adverse judicial ruling ending
the action and [the defendants’] right to seek attorney fees.”
(Mesa, supra, 232 Cal.App.4th at p. 899.) Similarly, here, the
trial court’s ruling ended the action, cut off Megna’s right to seek
attorney fees, and was a final determination of the issues in the
case. We again reject T-A Fashion’s contention that the orders at
issue here are nonappealable.
       Further, even if the orders were not appealable, we would
exercise our discretion to treat the appeal as a petition for writ of
mandate. (Mesa, supra, 232 Cal.App.4th at p. 899.)
       B.     Applicable law and standard of review
       Section 581, subdivision (b)(1) allows a plaintiff to dismiss
an action voluntarily “at any time before the actual
commencement of trial . . . .” The “right to a voluntary dismissal
pursuant to [section 581, subdivision (b)(1)] appears to be
absolute. [Citation.] Upon the proper exercise of that right, a
trial court would thereafter lack jurisdiction to enter further
orders in the dismissed action.” (Wells v. Marina City Properties,
Inc. (1981) 29 Cal.3d 781, 784 (Wells).)




                                 6
       However, courts have reasoned the term “trial” in
section 581, subdivision (b)(1), “ ‘cannot be restricted in its
meaning to trials of the merits after answer . . . .’ ” (Wells, supra,
29 Cal.3d at p. 785.) Rather, courts deem trial to have
commenced when the entry of judgment is a “mere formality.”
(Zapanta v. Universal Care, Inc. (2003) 107 Cal.App.4th 1167,
1174 (Zapanta); Cravens v. State Bd. of Equalization (1997) 52
Cal.App.4th 253, 257 (Cravens).) The court in Franklin Capital,
supra, 148 Cal.App.4th 187, distilled the case law analyzing this
threshold into two categories, explaining that a plaintiff may not
voluntarily dismiss an action after (1) the court has publicly and
formally articulated a tentative or actual ruling on the merits, or
(2) the plaintiff has committed “some procedural dereliction” that
made dismissal inevitable. (Id. at p. 200.)
       Our standard of review is de novo, as we are applying
section 581, subdivision (b)(1) to undisputed facts. (Zapanta,
supra, 107 Cal.App.4th at p. 1171; Groth Bros. Oldsmobile v.
Gallagher (2002) 97 Cal.App.4th 60, 65 (Groth Bros.).)4
       C.    Megna has not established the trial court made
             a public and formal indication as to the merits
             of its summary judgment motion
       Megna argues dismissal of T-A Fashion’s lawsuit was a
mere formality based on a tentative ruling the trial court

4     T-A Fashion contends the appropriate standard of review is
abuse of discretion, citing case law addressing section 473,
subdivision (b). However, defendants’ motion to vacate was not
brought under section 473. T-A Fashion has not provided any
reasoned argument to explain why the abuse of discretion
standard applicable to section 473 motions should apply to our
review of the trial court’s ruling on a motion to vacate a voluntary
dismissal.




                                  7
announced in open court during the final status conference. We
find no basis for reversal.
         A plaintiff may not voluntarily dismiss a lawsuit under
section 581, subdivision (b)(1) after the trial court makes a
“public and formal indication . . . of the legal merits of the case
. . . . ” (Franklin Capital, supra, 148 Cal.App.4th at p. 200.)
According to a declaration filed by defendants’ counsel, during
the final status conference, the trial court “indicated that its
tentative ruling was to grant the motion for summary judgment.”
However, the proceeding was not reported and there was no
written tentative. The only report of a tentative ruling comes
from defendants’ counsel’s declaration. Yet, at the hearing on the
motion to vacate, T-Fashion’s counsel and the trial court
indicated defendants’ counsel’s declaration was inaccurate or
mischaracterized the proceedings. The trial court indicated it did
not make any definitive statements about the merits of
defendants’ summary judgment motion, rather, it raised a
potentially dispositive issue it believed the parties had
overlooked and asked them to consider it further. Without a
reporter’s transcript, we must presume that what occurred at the
final status conference supports the trial court’s ultimate order.
(In re Marriage of Obrecht (2016) 245 Cal.App.4th 1, 9.)
         Moreover, a court’s preliminary discussion of the merits of
a case, adverse to the plaintiff, will not necessarily cut off the
plaintiff’s statutory right to voluntarily dismiss an action.
Instead, as the Franklin Capital court recognized in its analysis
of the then existing case law, it is a “public and formal indication
by the trial court of the legal merits of the case” that terminates
the right to dismiss. (Franklin Capital, supra, 148 Cal.App.4th
at p. 200.) That indication occurred in cases such as Groth Bros.,




                                 8
supra, 97 Cal.App.4th 60, and Mary Morgan, Inc. v. Melzark
(1996) 49 Cal.App.4th 765 (Mary Morgan), when the trial court
issued a formal tentative ruling adverse to the plaintiff. In
contrast, in Datner v. Mann Theatres Corp. (1983) 145
Cal.App.3d 768, 771, the trial court made a statement to counsel
during an unreported chambers conference conveying a tentative
decision that the defendant’s pending demurrer was meritorious.
The Datner court held the tentative decision did not create a bar
to voluntary dismissal. As the Franklin Capital court reasoned,
the trial court’s statement in Datner was not a “formal
indication,” unlike the tentative ruling in Groth Bros., which was
“a formally posted tentative for the world to see.” (Franklin
Capital, at p. 201.)
       Here, even if the trial court’s statements could be construed
as a tentative ruling, they lacked the formality or definitiveness
that would be necessary to cut off T-A Fashion’s statutory right to
voluntarily dismiss the case. The court’s statements were made
only verbally. They occurred before any opposition to the motion
for summary judgment was filed or due. Further, the court’s
statements were made at a final status conference at which the
motion for summary judgment was not being formally considered.
In the court’s view, at least, it was not expressing a formal
tentative ruling on the merits of defendants’ summary judgment
motion. The Franklin Capital court’s qualification is apt here
that “[i]t is stretching things a wee bit to say that a trial court’s
tentative ruling means that an adverse judgment is a ‘mere
formality’ which must inevitably ensue . . . .” (Franklin Capital,
supra, 148 Cal.App.4th at p. 202.)
       Megna argues the court’s indication “need not be in writing
or posted,” and contends statements made in court are “presumed




                                 9
to be formal.” However, the case law it cites only indicates “[o]ral
statements of counsel may be treated as judicial admissions” in
certain circumstances. (People v. Jackson (2005) 129 Cal.App.4th
129, 161, italics added.) This standard has no bearing on the
formality of a court’s statement during an unreported status
conference. We conclude that even if the trial court announced a
verbal tentative during the conference, its statement was not
sufficiently “public and formal” to bar T-A Fashion’s statutory
right to voluntary dismissal. (Franklin Capital, supra, 148
Cal.App.4th at p. 200.)
       Megna’s reliance on Mary Morgan is misplaced. In Mary
Morgan, the trial court issued a tentative ruling granting the
defendants’ motions for summary judgment and began the
hearing on the matter. The plaintiff requested a continuance to
gather and review newly available evidence essential to its
opposition, pursuant to section 437c, subdivision (h).5 (Mary
Morgan, supra, 49 Cal.App.4th at p. 768.) The court granted the
request. However, rather than filing further opposition, the
plaintiff filed a request for dismissal without prejudice. (Ibid.)
At the continued summary judgment hearing, the trial court
struck the request for dismissal and granted the summary
judgment motions. (Id. at pp. 768–769.)
       The appellate court affirmed, recognizing that section 437c,
subdivision (h), had allowed the plaintiff to effectively “compel a


5     Section 437c, subdivision (h) provides that if any party
opposing summary judgment submits an affidavit claiming “facts
essential to justify opposition may exist but cannot, for reasons
stated, be presented, the court shall deny the motion, order a
continuance to permit affidavits to be obtained or discovery to be
had, or make any other order as may be just.”




                                10
continuance,” but the continuance was “for a particular purpose—
production of opposition evidence,” and was not a license to
“defeat the motion by collateral maneuvers.” (Mary Morgan,
supra, 49 Cal.App.4th at p. 771.) The court concluded allowing
the plaintiff to voluntarily dismiss by forcing a continuance after
the hearing had already begun would “eviscerate the summary
judgment procedure . . . .” (Ibid.) In contrast, here, when T-A
Fashion filed the voluntary dismissal, it had not yet filed an
opposition to the summary judgment motion, the hearing on the
motion was over two weeks away, and there was no similar
tentative ruling issued. Indeed, the Mary Morgan court narrowly
framed the issue before it as “whether a voluntary dismissal is
permitted after a summary judgment hearing has commenced
and is continued to permit the gathering of previously
unavailable opposition evidence.” (Id. at p. 770.) That was not
the situation in this case.
       D.     Megna has not identified any dispositive
              procedural inaction barring T-A Fashion’s
              statutory right to voluntarily dismiss
       Megna contends dismissal was a mere formality because
the procedural defects it had identified in its summary judgment
motion relating to T-A Fashion’s three-day notice rendered the
action indisputably and fatally flawed. We disagree that this
lack of substantive merit made entry of judgment a “mere
formality” so as to cut off T-A Fashion’s ability to dismiss.
       As the Franklin Capital court observed, courts have found
plaintiff’s right to voluntarily dismiss under section 581,
subdivision (b)(1) is extinguished after dismissal has become
legally inevitable “based on dispositive procedural inaction by the
plaintiff (like not filing opposition to a summary judgment motion




                                11
or not bringing the case to trial in five years) . . . .” (Franklin
Capital, supra, 148 Cal.App.4th at p. 201.) Examples of
dispositive procedural inaction include failure to timely oppose a
summary judgment that negated the plaintiff’s claims, entitling
defendants to summary judgment as a matter of law (Cravens,
supra, 52 Cal.App.4th at p. 257), failure to bring a case to trial
within five years, requiring dismissal pursuant to section 583.360
(M &amp; R Properties v. Thomson (1992) 11 Cal.App.4th 899, 903),
and failure to timely pay required transfer fees, requiring
dismissal under former section 581b (London v. Morrison (1950)
99 Cal.App.2d 876, 879–880). In each of these situations, the
plaintiff failed to act or comply with procedural requirements in a
manner that made dismissal inevitable, for reasons unrelated to
the underlying merits or substantive issues in the case.
       There was no such procedural inaction in this case. As the
court explained in Zapanta, at the summary judgment stage, a
plaintiff retains the statutory right to voluntarily dismiss if the
opposition is not past due, the court has not held a hearing on the
motion, and the court has not issued a tentative decision.
(Zapanta, supra, 107 Cal.App.4th at pp. 1173–1174.) In such
circumstances, the matter has “not yet reached a stage where a
final disposition [is] a mere formality.” (Ibid.) As in Zapanta,
here, T-A Fashion voluntarily dismissed before its opposition to
defendants’ summary judgment motion was due, before the
hearing on the motion, and before the court issued a tentative
ruling. At this stage, T-A Fashion retained its statutory right to
dismiss. (Id. at p. 1174.)
       Megna contends certain procedural issues with T-A
Fashion’s service of the three-day notice amount to “procedural
dereliction” under Franklin Capital. Not so. The procedural




                                12
issues of which Megna complains are rooted in T-A Fashion’s
alleged affirmative acts of improperly serving the three-day
notice and prematurely filing the underlying lawsuit. These
arguments formed the basis of defendants’ motion for summary
judgment. T-A Fashion had the right to oppose the motion with
disputed facts or legal authority rebutting defendants’
arguments. The trial court would have been required to evaluate
the merit of those arguments before granting summary judgment
and dismissing the action. No “procedural inaction” made
dismissal inevitable. (Franklin Capital, supra, 148 Cal.App.4th
at p. 201; Zapanta, supra, 107 Cal.App.4th at pp. 1173–1174.)
II.    Megna Has Not Established It is Entitled to Attorney
       Fees
       Megna also contends the trial court erred in denying its
motion for attorney fees. However, Megna’s arguments are
entirely contingent on the success of its claim that the trial court
erred in denying its motion to vacate. As discussed above, we
conclude the trial court properly denied that motion. We must
therefore reject Megna’s argument regarding attorney fees.




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                        DISPOSITION
     The order is affirmed. Respondent to recover its costs on
appeal.
     NOT TO BE PUBLISHED IN THE OFFICIAL
REPORTS




                                         ADAMS, J.



We concur:




                 EDMON, P. J.




                 EGERTON, J.




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